
PER CURIAM.
We have for review the following question certified to be of great public importance:
SHOULD THE REQUIREMENT THAT A DEFENDANT PAY FOR DRUG TESTING BE TREATED AS A GENERAL CONDITION OF PROBATION FOR WHICH NOTICE IS PROVIDED BY SECTION 948.09(6), FLORIDA STATUTES (1995), OR SHOULD IT BE TREATED AS A SPECIAL CONDITION THAT REQUIRES ORAL ANNOUNCEMENT?
Porchia v. State, 705 So.2d 1050, 1051 (Fla. 5th DCA 1998). We have jurisdiction. Art. V, § 3(b)(4), Fla. Const.
We answered this question in State v. Williams, 712 So.2d 762 (Fla.1998), by holding that the requirement that a defendant pay for drug testing is a special condition of probation which the trial court must pronounce orally at sentencing.
Accordingly, we approve the decision below.
It is so ordered.
HARDING, C.J., and OVERTON, SHAW, KOGAN, WELLS, ANSTEAD and PARIENTE, JJ., concur.
